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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           :
                                                   :
                                                   :
 v.                                                : CASE NO. 21-CR- 107 (RDM)
                                                   :
                                                   :
BRUNO JOSEPH CUA,                                  :
                                                   :
                       Defendant.                  :
                                                   :


                                 JOINT STATUS REPORT

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and defendant Bruno Joseph Cua, by and through his attorney, William

Zapf, now submit this joint status report, requested by the Court at the last status hearing on

January 14, 2022.

       1. At the last hearing, the government discussed the state of both global discovery and

          case-specific discovery in this matter. Since that hearing, the government has made two

          additional global productions, and has made all prior global productions available on

          the defense instances of Relativity and Evidence.com. At this juncture, over 34,000

          documents and over 24,000 video files have been disclosed to the defense in global

          discovery.

       2. In the near future, the government expects to make additional global productions,

          which should include, inter alia, the scoped results of search warrants conducted on

          other Capitol Siege defendant’s electronic devices and social media accounts, recorded
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   custodial interviews of Capitol Siege defendants, and additional materials in the

   custody and control of the FBI that may be relevant to Mr. Cua.

3. The government is willing to continue discussions regarding disposition of this matter,

   though the plea offer previously extended was rejected on the record on October 26,

   2021, prior to the filing of motions in this case. There is currently no plea offer

   outstanding.

4. At the last hearing, defense counsel represented they would continue to work with the

   government on outstanding discovery issues.

5. The government and the defense have had conversations regarding a possible plea in

   this matter and will continue to work to determine if this case can be resolved short of

   trial.   No agreement has been reached thus far, however, and a plea does not appear

   imminent.

6. Given the additional discovery recently produced, outstanding global discovery

   expected in the coming weeks, and possible re-entry into plea negotiations, the parties

   ask for an additional 60 days to work towards a resolution in this matter.

7. Therefore, the parties ask for leave to submit another joint status report on May 16,

   2022. If the parties have reached a decision regarding disposition of this matter, the

   parties will file prior to this date.

8. The parties are in agreement that, due to outstanding discovery and ongoing plea

   negotiations, the ends of justice would be served by exclusion of time under The

   Speedy Trial Act until the next filing before this Court on May 16, 2022. Mr. Cua




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 waives his rights under the Speedy Trial Act and agrees to the exclusion of time for the

 period from today’s status report through May 16, 2022.


                                   Respectfully submitted,


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                                   UNITED STATES ATTORNEY
                                   D.C. Bar No. 481052

                                   BY:        /s/
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